                                       Case 20-32653-sgj7    Doc 45     Filed 09/16/22
                                                                                FORM 1
                                                                                        Entered 09/16/22 22:00:16                             Desc Main
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                                                            INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                   Page No:    1
                                                                              ASSET CASES

Case No.:                  20-32653-SGJ                                                                                          Trustee Name:                              Jeffrey H. Mims
Case Name:                 MOVIE GRILL CONCEPTS XLIV, LLC                                                                        Date Filed (f) or Converted (c):           10/23/2020 (f)
For the Period Ending:     9/16/2022                                                                                             §341(a) Meeting Date:                      05/11/2021
                                                                                                                                 Claims Bar Date:                           09/07/2021

                              1                                 2                      3                                 4                        5                                           6

                       Asset Description                      Petition/         Estimated Net Value                   Property               Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                      Unscheduled        (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                   Value                  Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                              Less Liens, Exemptions,
                                                                                 and Other Costs)

 Ref. #
1       DRAWER CASH AT THEATERS-                                      $0.00                             $0.00                                          $0.00                                            FA
        SMG-CHISHOLM TRAIL RANCH
2       CAPITAL ONE, TEXAS THEATER                             $430,000.00                     $430,000.00                                      $429,981.74                                             FA
        DEPOSITORY 8945
3       UTILITY DEPOSIT FORT WORTH CITY                             $820.00                        $820.00                                             $0.00                                            FA
        CUSTOMER SERVICE 920 FOURNIER ST
        FORT WORTH TX 76102
4       C N A INSURANCE - LIABILITY                                   $0.00                             $0.00                                          $0.00                                            FA
5       C N A INSURANCE - AUTO                                        $0.00                             $0.00                                          $0.00                                            FA
6       C N A INSURANCE - WORKERS                                     $0.00                             $0.00                                          $0.00                                            FA
        COMPENSATION
7       C N A SPECIALTY INSURANCE - $10 M                             $0.00                             $0.00                                          $0.00                                            FA
        EXCESS LIABILITY - 3RD LAYER
8       CHUBB INSURANCE - CYBER                                       $0.00                             $0.00                                          $0.00                                            FA
9       CHUBB INSURANCE - $5M EXCESS                                  $0.00                             $0.00                                          $0.00                                            FA
        LIABILITY - 2ND LAYER
10      CHUBB INSURANCE - CRIME                                       $0.00                             $0.00                                          $0.00                                            FA
11      CHUBB INSURANCE - DIRECTORS &                                 $0.00                             $0.00                                          $0.00                                            FA
        OFFICERS LIABILTY
12      CHUBB INSURANCE - FIDUCIARY                                   $0.00                             $0.00                                          $0.00                                            FA
        LIABILITY
13      CHUBB INSURANCE - EMPLOYMENT                                  $0.00                             $0.00                                          $0.00                                            FA
        PRACTICES LIABILITY
14      ENDURANCE INSURANCE - EXCESS D&O                              $0.00                             $0.00                                          $0.00                                            FA
        - $1M
15      LIBERTY MUTUAL INSURANCE -                                    $0.00                             $0.00                                          $0.00                                            FA
        PROPERTY INCL LEASED & RENTED
        EQUIPMENT
16      LLOYDS OF LONDON INSURANCE -                                  $0.00                             $0.00                                          $0.00                                            FA
        EARTHQUAKE - $10M LAYER
                                        Case 20-32653-sgj7                    Doc 45   Filed 09/16/22
                                                                                               FORM 1
                                                                                                       Entered 09/16/22 22:00:16                                             Desc Main
                                                                                      Document      Page 2 of 2
                                                                           INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                   Page No:     2
                                                                                                        ASSET CASES

Case No.:                   20-32653-SGJ                                                                                                                       Trustee Name:                                 Jeffrey H. Mims
Case Name:                  MOVIE GRILL CONCEPTS XLIV, LLC                                                                                                     Date Filed (f) or Converted (c):              10/23/2020 (f)
For the Period Ending:      9/16/2022                                                                                                                          §341(a) Meeting Date:                         05/11/2021
                                                                                                                                                               Claims Bar Date:                              09/07/2021

                                1                                                 2                               3                                   4                           5                                            6

                       Asset Description                                       Petition/                  Estimated Net Value                     Property                  Sales/Funds              Asset Fully Administered (FA)/
                        (Scheduled and                                       Unscheduled                 (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                                    Value                           Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

17      LLOYD'S OF LONDON INSURANCE -                                                   $0.00                                     $0.00                                                $0.00                                           FA
        FLOOD - PEARLAND
18      QBE INSURANCE - EARTHQUAKE - $10M                                               $0.00                                     $0.00                                                $0.00                                           FA
        LAYER
19      STARSTONE INSURANCE - EXCESS D&O -                                              $0.00                                     $0.00                                                $0.00                                           FA
        $2M
20      TRAVELERS INSURANCE - $5M EXCESS                                                $0.00                                     $0.00                                                $0.00                                           FA
        LIABILITY - 1ST LAYER
21      VOYAGER INSURANCE - FLOOD -                                                     $0.00                                     $0.00                                                $0.00                                           FA
        SELECTED LOCATION
22      VOID                                                                            $0.00                                     $0.00                                                $0.00                                           FA


TOTALS (Excluding unknown value)                                                                                                                                                                           Gross Value of Remaining Assets
                                                                                  $430,820.00                             $430,820.00                                           $429,981.74                                        $0.00




     Major Activities affecting case closing:
      09/16/2022    Trustee has recovered all known assets and is monitoring/assisting in adversary to determine lien priorities on remaining funds and then expects to file his final report shortly thereafter.


Initial Projected Date Of Final Report (TFR):           05/31/2023                              Current Projected Date Of Final Report (TFR):                                         /s/ JEFFREY H. MIMS
                                                                                                                                                                                      JEFFREY H. MIMS
                                                                                                                                                                                      TRUSTEE
